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                                                  APPENDIX A


Plaintiffs’ Trial Exhibit List

Trial Exhibit
                       Bates Number                Basis for Objection                         Requested Action
  Number
                GOOG-AT-MDL-
                009597716-GOOG-AT-     Redacted material pertains to personal private Limited redactions as proposed in
PTX0039         MDL-009597720          information.                                   attached.
                GOOG-AT-MDL-
                009618311-GOOG-AT-     Redacted material pertains to personal private Limited redactions as proposed in
PTX0055         MDL-009618312          information.                                   attached.
                GOOG-DOJ-03599580-     Redacted material pertains to personal private Limited redactions as proposed in
PTX0072         GOOG-DOJ-03599645      information.                                   attached.
                GOOG-AT-MDL-
                009762423-GOOG-AT-     Redacted material pertains to personal private Limited redactions as proposed in
PTX0100         MDL-009762429          information.                                   attached.
                GOOG-DOJ-03870862-     Redacted material pertains to personal private Limited redactions as proposed in
PTX0120         GOOG-DOJ-03870877      information.                                   attached.
                GOOG-AT-MDL-
                008734667-GOOG-AT-     Redacted material pertains to Google’s non-   Limited redactions as proposed in
PTX0219         MDL-008734706          public pricing information.                   attached.
                GOOG-DOJ-13354593-     Redacted material pertains to personal private Limited redactions as proposed in
PTX0249         GOOG-DOJ-13354598      information.                                   attached.
                GOOG-TEX-00117103-     Redacted material pertains to personal private Limited redactions as proposed in
PTX0255         GOOG-TEX-00117115      information.                                   attached.
                GOOG-DOJ-15643121-     Redacted material pertains to personal private Limited redactions as proposed in
PTX0256         GOOG-DOJ-15643126      information.                                   attached.
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Trial Exhibit
                     Bates Number                 Basis for Objection                        Requested Action
  Number
                GOOG-TEX-00117219-   Redacted material pertains to personal private Limited redactions as proposed in
PTX0269         GOOG-TEX-00117229    information.                                   attached.
                GOOG-DOJ-07791790-   Redacted material pertains to personal private Limited redactions as proposed in
PTX304          GOOG-DOJ-07791792    information.                                   attached.
                GOOG-DOJ-05221243-   Redacted material pertains to personal private Limited redactions as proposed in
PTX0308         GOOG-DOJ-05221246    information.                                   attached.
                GOOG-DOJ-05311142-   Redacted material pertains to personal private Limited redactions as proposed in
PTX0309         GOOG-DOJ-05311145    information.                                   attached.

                GOOG-DOJ-12947505-   Redacted material pertains to personal private Limited redactions as proposed in
PTX0619         GOOG-DOJ-12947508    information.                                   attached.

                GOOG-DOJ-07799709-   Redacted material pertains to personal private Limited redactions as proposed in
PTX0640         GOOG-DOJ-07799711    information.                                   attached.
                                     Redacted material pertains to non-public
                GOOG-DOJ-10806862-   commercial and technical information          Limited redactions as proposed in
PTX0746         GOOG-DOJ-10806871    regarding a Google product feature.           attached.

                GOOG-DOJ-15226622-   Redacted material pertains to pertains to     Limited redactions as proposed in
PTX0756         GOOG-DOJ-15226626    personal private information.                 attached.

                GOOG-DOJ-13495460-   Redacted material pertains to personal private Limited redactions as proposed in
PTX0760         GOOG-DOJ-13495467    information.                                   attached.

                GOOG-DOJ-13495995-   Redacted material pertains to personal private Limited redactions as proposed in
PTX0770         GOOG-DOJ-13496000    information.                                   attached.




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Trial Exhibit
                     Bates Number                    Basis for Objection                              Requested Action
  Number
                GOOG-AT-MDL-            Redacted material pertains to non-public
                001412832-GOOG-AT-      commercial and technical information               Limited redactions as proposed in
PTX0783         MDL-001412834           regarding a Google product feature.                attached.

                GOOG-DOJ-10924738-      Redacted material pertains to personal private Limited redactions as proposed in
PTX0800         GOOG-DOJ-10924742       information.                                   attached.

                GOOG-DOJ-15044036-      Redacted material pertains to personal private Limited redactions as proposed in
PTX0826         GOOG-DOJ-15044044       information.                                   attached.
                                        Redacted material pertains to Google’s non-
                GOOG-DOJ-AT-01155096-   public competitively sensitive customer            Limited redactions as proposed in
PTX0957         GOOG-DOJ-AT-01155105    contract terms and information.                    attached.
                                        Redacted material pertains to sensitive
                GOOG-AT-MDL-            customer information, including payment and
                007188258-GOOG-AT-      vendor IDs as well as inclusion of certain         Limited redactions as proposed in
PTX0974         MDL-007188258           contract terms.                                    attached.
                GOOG-AT-MDL-            Document contains Google’s competitively
                008666769-GOOG-AT-      sensitive customer information, including
PTX0977         MDL-008666769           account IDs and revenue numbers.                   Seal in full.
                                        Redacted material pertains to Google’s non-
                                        public competitively sensitive customer
                GOOG-DOJ-AT-00010835-   contract terms and personal private                Limited redactions as proposed in
PTX0996         GOOG-DOJ-AT-00010838    information.                                       attached.
                GOOG-AT-MDL-            Redacted material pertains to Google’s non-
                019357807-GOOG-AT-      public competitively sensitive customer            Limited redactions as proposed in
PTX1063         MDL-019357810           contract terms.                                    attached.
                GOOG-AT-MDL-            Redacted material pertains to competitively
                004347222-GOOG-AT-      sensitive details regarding financial terms of a   Limited redactions as proposed in
PTX1065         MDL-004347222           customer discount incentive program.               attached.



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Trial Exhibit
                      Bates Number                  Basis for Objection                           Requested Action
  Number
                GOOG-AT-MDL-            Document contains Google’s proprietary and
                010525663-GOOG-AT-      commercially sensitive business information,
PTX1066         MDL-010525897           including product development strategy.        Seal in full.
                                        Redacted material pertains to Google’s non-
                GOOG-AT-MDL-            public financial and commercial information,
                001970341-GOOG-AT-      as well as non-public information reflecting   Limited redactions as proposed in
PTX1068         MDL-001970358           recent and future strategies.                  attached.
                                        Redacted material pertains to Google’s non-
                GOOG-AT-MDL-            public financial and commercial information,
                008885721-GOOG-AT-      as well as non-public information reflecting   Limited redactions as proposed in
PTX1069         MDL-008885757           recent and future strategies.                  attached.
                GOOG-AT-MDL-
                008227470-GOOG-AT-      Document contains non-public, internal
PTX1075         MDL-008227470           financial profit and loss analysis.            Seal in full.
                                        Redacted material pertains to Google’s non-
                GOOG-DOJ-AT-02649870-   public, internal financial profit and loss     Limited redactions as proposed in
PTX1097         GOOG-DOJ-AT-02649870    analysis.                                      attached.
                GOOG-AT-MDL-            Redacted material pertains to Google’s
                014331375-GOOG-AT-      commercial strategy and competitively          Limited redactions as proposed in
PTX1119         MDL-014331379           sensitive contract terms and information.      attached.
                                        Redacted material pertains to Google’s non-    To be modified by the parties to
                                        public competitively sensitive customer        replace customer names with generic
PTX1406         N/A                     information.                                   identifiers.
                                        Redacted material pertains to Google’s non-    To be modified by the parties to
                                        public competitively sensitive customer        replace customer names with generic
PTX1407         N/A                     information.                                   identifiers.
                                        Redacted material pertains to Google’s non-    To be modified by the parties to
                                        public competitively sensitive customer        replace customer names with generic
PTX1408         N/A                     information.                                   identifiers.



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Trial Exhibit
                      Bates Number               Basis for Objection                        Requested Action
  Number
                                     Redacted material pertains to Google’s non-   To be modified by the parties to
                                     public competitively sensitive customer       replace customer names with generic
PTX1409         N/A                  information.                                  identifiers.
                                     Redacted material pertains to Google’s non-   To be modified by the parties to
                                     public competitively sensitive customer       replace customer names with generic
PTX1436         N/A                  information.                                  identifiers.
                                     Redacted material pertains to Google’s non-   To be modified by the parties to
                                     public competitively sensitive customer       replace customer names with generic
PTX1437         N/A                  information.                                  identifiers.
                                     Redacted material pertains to Google’s non-   To be modified by the parties to
                                     public competitively sensitive customer       replace customer names with generic
PTX1438         N/A                  information.                                  identifiers.
                                     Redacted material pertains to Google’s non-   To be modified by the parties to
                                     public competitively sensitive customer       replace customer names with generic
PTX1440         N/A                  information.                                  identifiers.
                                     Redacted material pertains to Google’s non-   To be modified by the parties to
                                     public competitively sensitive customer       replace customer names with generic
PTX1444         N/A                  information.                                  identifiers.
                                     Redacted material pertains to Google’s non-   To be modified by the parties to
                                     public competitively sensitive customer       replace customer names with generic
PTX1445         N/A                  information.                                  identifiers.
                                     Redacted material pertains to Google’s non-   To be modified by the parties to
                                     public competitively sensitive customer       replace customer names with generic
PTX1447         N/A                  information.                                  identifiers.
                                     Redacted material pertains to Google’s non-   To be modified by the parties to
                                     public competitively sensitive customer       replace customer names with generic
PTX1448         N/A                  information.                                  identifiers.
                                     Redacted material pertains to Google’s non-   To be modified by the parties to
                                     public competitively sensitive customer       replace customer names with generic
PTX1449         N/A                  information.                                  identifiers.


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Trial Exhibit
                      Bates Number                Basis for Objection                        Requested Action
  Number
                                     Redacted material pertains to Google’s non-    To be modified by the parties to
                                     public competitively sensitive customer        replace customer names with generic
PTX1450         N/A                  information.                                   identifiers.
                                     Redacted material pertains to Google’s non-    To be modified by the parties to
                                     public competitively sensitive customer        replace customer names with generic
PTX1451         N/A                  information.                                   identifiers.
                                     Redacted material pertains to Google’s non-    To be modified by the parties to
                                     public competitively sensitive customer        replace customer names with generic
PTX1452         N/A                  information.                                   identifiers.
                                     Redacted material pertains to Google’s non-    To be modified by the parties to
                                     public competitively sensitive customer        replace customer names with generic
PTX1453         N/A                  information.                                   identifiers.
                                     Redacted material pertains to Google’s non-    To be modified by the parties to
                                     public competitively sensitive customer        replace customer names with generic
PTX1454         N/A                  information.                                   identifiers.
                                     Redacted material pertains to Google’s non-    To be modified by the parties to
                                     public competitively sensitive customer        replace customer names with generic
PTX1468         N/A                  information.                                   identifiers.

                GOOG-DOJ-11899167-   Redacted material pertains to personal private Limited redactions as proposed in
PTX1495         GOOG-DOJ-11899225    information.                                   attached.
                                     Redacted material pertains to Google’s
                GOOG-DOJ-03047055-   nonpublic, proprietary business strategy and   Limited redactions as proposed in
PTX1611         GOOG-DOJ-03047076    customer revenue statistics.                   attached.
                GOOG-AT-MDL-         Redacted material pertains to Google’s non-
                011120632-GOOG-AT-   public, proprietary business strategy and      Limited redactions as proposed in
PTX1663         MDL-011120648        customer revenue statistics.                   attached.
                GOOG-AT-MDL-         Redacted material pertains to Google’s non-
                008285890-GOOG-AT-   public, proprietary business strategy and      Limited redactions as proposed in
PTX1669         MDL-008286018        customer revenue statistics.                   attached.


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Trial Exhibit
                      Bates Number                Basis for Objection                             Requested Action
  Number
                GOOG-AT-MDL-         Redacted material pertains to calculations
                006037366-GOOG-AT-   based on Google’s internal, nonpublic             Limited redactions as proposed in
PTX1757         MDL-006037373        proprietary data.                                 attached.
                GOOG-AT-MDL-
                001064910-GOOG-AT-   Document contains Google’s non-public,
PTX1761         MDL-001064910        internal financial profit and loss analysis.      Seal in full.
                GOOG-AT-MDL-         Document contains Google’s proprietary
                011124130-GOOG-AT-   business strategy and customer revenue
PTX1768         MDL-011124651        statistics.                                       Seal in full.
                                     Redacted material pertains to Google’s non-
                                     public financial information, including profits   Limited redactions as proposed in
PTX1772         N/A                  and revenue.                                      attached.
                                     Redacted material pertains to detailed
                                     information pertaining to Google’s internal,      Limited redactions as proposed in
PTX1773         N/A                  non-public proprietary data.                      attached.
                                     Redacted material pertains to Google’s non-
                                     public financial and commercial information,      Limited redactions as proposed in
PTX1787         N/A                  including revenue and impressions data.           attached.

                GOOG-DOJ-14271826-   Redacted material pertains to personal private Limited redactions as proposed in
PTX1830         GOOG-DOJ-14271830    information.                                     attached.
                                     Document contains information protected by
                                     attorney-client privilege and the attorney work
                                     product doctrine, which information was
                                     disclosed to Plaintiffs for limited purposes and
                                     subject to an agreement that such disclosure     Defer decision on sealing until the
                                     did not and would not constitute waiver of the Court rules on Plaintiffs’ Motion for
                                     attorney client privilege, attorney work         Adverse Inference, Dkt. No. 1115.
                                     product protections, or other applicable         See Google’s Revised Objections at
PTX1838         N/A                  protections from disclosure.                     10.


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Trial Exhibit
                     Bates Number                 Basis for Objection                         Requested Action
  Number
                                     Document contains information protected by
                                     attorney-client privilege and the attorney work
                                     product doctrine, which information was
                                     disclosed to Plaintiffs for limited purposes and
                                     subject to an agreement that such disclosure     Defer decision on sealing until the
                                     did not and would not constitute waiver of the Court rules on Plaintiffs’ Motion for
                                     attorney client privilege, attorney work         Adverse Inference, Dkt. No. 1115.
                                     product protections, or other applicable         See Google’s Revised Objections at
PTX1840         N/A                  protections from disclosure.                     10.
                GOOGEDVA-SC-00001;
                GOOGEDVA-SC-00002;
                GOOGEDVA-SC-00007;
                GOOGEDVA-SC-00008;
                GOOGEDVA-SC-00009;
                GOOGEDVA-SC-00010;
                GOOGEDVA-SC-00012;
                GOOGEDVA-SC-00013;
                GOOGEDVA-SC-00015;
                GOOGEDVA-SC-00016;
                GOOGEDVA-SC-00017;
                GOOGEDVA-SC-00018;
                GOOGEDVA-SC-00019;
                GOOGEDVA-SC-00020;
                GOOGEDVA-SC-00023;
                GOOGEDVA-SC-00024;
                GOOGEDVA-SC-00025;
                GOOGEDVA-SC-00028;
                GOOGEDVA-SC-00029;
                GOOGEDVA-SC-00031;
                GOOGEDVA-SC-00032;
PTX1850         GOOGEDVA-SC-00033;


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Trial Exhibit
                     Bates Number                Basis for Objection                      Requested Action
  Number
                GOOGEDVA-SC-00034;
                GOOGEDVA-SC-00035;
                GOOGEDVA-SC-00036;
.               GOOGEDVA-SC-00037;
                GOOGEDVA-SC-00039;
                GOOGEDVA-SC-00042;
                GOOGEDVA-SC-00043;
                GOOGEDVA-SC-00045;
                GOOGEDVA-SC-00047;
                GOOGEDVA-SC-00048;
                GOOGEDVA-SC-00055;
                GOOGEDVA-SC-00062;
                GOOGEDVA-SC-00069;
                GOOGEDVA-SC-00074;
                GOOGEDVA-SC-00075;
                GOOGEDVA-SC-00076;
PTX1850         GOOGEDVA-SC-00078    Document contains Google’s source code.   Seal in full.
(Cont)




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Defendant Google’s Trial Exhibit List

Trial Exhibit
                       Bates Number                      Basis for Objection                         Requested Action
  Number

                GOOG-AT-MDL-002391198- Redacted material pertains to personal private        Limited redactions as proposed in
DTX0139         GOOG-AT-MDL-002391248 information.                                           attached.

                GOOG-DOJ-04307267-          Redacted material pertains to personal private   Limited redactions as proposed in
DTX0143         GOOG-DOJ-04307268           information.                                     attached.

                GOOG-DOJ-04529447-     Redacted material pertains to personal private        Limited redactions as proposed in
DTX0164         GOOG-DOJ-04529449      information.                                          attached.
                    GOOG-AT-MDL-B-
                005482544-GOOG-AT-MDL- Redacted material pertains to personal private        Limited redactions as proposed in
DTX0228                B-005482547     information.                                          attached.

                GOOG-DOJ-06837998-          Redacted material pertains to personal private   Limited redactions as proposed in
DTX0254         GOOG-DOJ-06838006           information.                                     attached.

                GOOG-DOJ-11763947-          Redacted material pertains to personal private   Limited redactions as proposed in
DTX0256         GOOG-DOJ-11763953           information.                                     attached.

                GOOG-DOJ-11763947-          Redacted material pertains to personal private   Limited redactions as proposed in
DTX0257         GOOG-DOJ-11763953           information.                                     attached.
                                            Redacted material pertains to commercial and
                GOOG-DOJ-13627809-          technical information regarding a Google         Limited redactions as proposed in
DTX0413         GOOG-DOJ-13627818           product feature.                                 attached.
                                            Redacted material pertains to non-public
                GOOG-DOJ-10806862-          commercial and technical information             Limited redactions as proposed in
DTX0414         GOOG-DOJ-10806871           regarding a Google product feature.              attached.



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Trial Exhibit
                       Bates Number                      Basis for Objection                         Requested Action
  Number
                GOOG-AT-MDL-003452662-                                                       Limited redactions as proposed in
DTX0451         GOOG-AT-MDL-003452677 Redacted material pertains to source code.             attached.

                GOOG-AT-MDL-010782179- Redacted material pertains to personal private        Limited redactions as proposed in
DTX0466         GOOG-AT-MDL-010782181 information.                                           attached.

                GOOG-DOJ-12947505-          Redacted material pertains to personal private   Limited redactions as proposed in
DTX0569         GOOG-DOJ-12947508           information.                                     attached.

                GOOG-DOJ-07799709-          Redacted material pertains to personal private   Limited redactions as proposed in
DTX0586         GOOG-DOJ-07799711           information.                                     attached.
                                       Redacted material pertains to non-public
                GOOG-DOJ-AT-02512863-  commercial and technical information                  Limited redactions as proposed in
DTX0602         GOOG-DOJ-AT-02512871   regarding a Google product feature.                   attached.
                                       Redacted material pertains to non-public
                GOOG-AT-MDL-001412832- commercial and technical information                  Limited redactions as proposed in
DTX0605         GOOG-AT-MDL-001412834 regarding a Google product feature.                    attached.
                                       Redacted material pertains to non-public
                GOOG-DOJ-12038253-     commercial and technical information                  Limited redactions as proposed in
DTX0618         GOOG-DOJ-12038313      regarding a Google product feature.                   attached.
                                       Redacted material pertains to non-public
                GOOG-DOJ-14550102-     commercial and technical information                  Limited redactions as proposed in
DTX0681         GOOG-AT-MDL-009644238 regarding a Google product feature.                    attached.
                                       Redacted material pertains to non-public
                GOOG-AT-MDL-011687180- commercial and technical information                  Limited redactions as proposed in
DTX0696         GOOG-AT-MDL-011687184 regarding a Google product feature.                    attached.
                                       Redacted material pertains to non-public
                GOOG-DOJ-13228856-     commercial and technical information                  Limited redactions as proposed in
DTX0698         GOOG-DOJ-13228860      regarding a Google product feature.                   attached.



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Trial Exhibit
                       Bates Number                      Basis for Objection                         Requested Action
  Number
                                            Redacted material pertains to non-public
                GOOG-DOJ-AT-02096796-       commercial and technical information             Limited redactions as proposed in
DTX0699         GOOG-DOJ-AT-02096800        regarding a Google product feature.              attached.

                GOOG-DOJ-15044036-          Redacted material pertains to personal private   Limited redactions as proposed in
DTX0774         GOOG-DOJ-15044044           information.                                     attached.
                                       Redacted material pertains to non-public
                GOOG-AT-MDL-003552802- commercial and technical information                  Limited redactions as proposed in
DTX0777         GOOG-AT-MDL-003552807 regarding a Google product feature.                    attached.
                                       Redacted material pertains to non-public
                GOOG-AT-MDL-009590288- commercial and technical information                  Limited redactions as proposed in
DTX0778         GOOG-AT-MDL-009590305 regarding a Google product feature.                    attached.
                                       Redacted material pertains to non-public
                GOOG-DOJ-AT-02096733-  commercial and technical information                  Limited redactions as proposed in
DTX0781         GOOG-DOJ-AT-02096740   regarding a Google product feature.                   attached.
                                       Redacted material pertains to non-public
                GOOG-DOJ-15254730-     commercial and technical information                  Limited redactions as proposed in
DTX0785         GOOG-DOJ-15254739      regarding a Google product feature.                   attached.
                                       Redacted material pertains to non-public
                GOOG-DOJ-AT-00088452-  commercial and technical information                  Limited redactions as proposed in
DTX0822         GOOG-DOJ-AT-00088482   regarding a Google product feature.                   attached.
                                       Redacted material pertains to non-public
                                       commercial and technical information
                GOOG-DOJ-13979867-     regarding a Google auction and product                Limited redactions as proposed in
DTX0840         GOOG-DOJ-13979893      feature.                                              attached.
                                       Redacted material pertains to non-public
                GOOG-AT-MDL-009068311- commercial and technical information                  Limited redactions as proposed in
DTX0877         GOOG-AT-MDL-009068338 regarding a Google product.                            attached.




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Trial Exhibit
                       Bates Number                       Basis for Objection                    Requested Action
  Number
                                       Redacted material pertains to non-public
                                       commercial and technical information
                GOOG-AT-MDL-002293467- regarding Google’s bidding and modeling         Limited redactions as proposed in
DTX0932         GOOG-AT-MDL-002293472 algorithms.                                      attached.
                                       Redacted material pertains to Google’s
                                       proprietary and commercially sensitive
                                       business information, including product
                                       development strategy, and technical
                GOOG-DOJ-AT-00554704-  information regarding a Google product          Limited redactions as proposed in
DTX0951         GOOG-DOJ-AT-00554884   feature.                                        attached.
                                       Redacted material pertains to non-public
                GOOG-DOJ-AT-00581338-  commercial and technical information            Limited redactions as proposed in
DTX0984         GOOG-DOJ-AT-00581340   regarding a Google product optimization.        attached.
                                       Redacted material pertains to Google’s non-
                GOOG-DOJ-AT-02307363-  public financial information, including         Limited redactions as proposed in
DTX1008         GOOG-DOJ-AT-02307412   revenue.                                        attached.
                                       Redacted material pertains to non-public
                GOOG-DOJ-AT-00585912-  commercial and technical information            Limited redactions as proposed in
DTX1014         GOOG-DOJ-AT-00585944   regarding a Google product.                     attached.
                                       Redacted material pertains to Google’s
                                       proprietary and commercially sensitive
                GOOG-DOJ-AT-02639476-  business information, including product         Limited redactions as proposed in
DTX1036         GOOG-DOJ-AT-02639513   development strategy.                           attached.
                                       Redacted material pertains to Google’s non-
                GOOG-AT-MDL-002182530- public financial information, including revenue Limited redactions as proposed in
DTX1039         GOOG-AT-MDL-002182532 and expenses.                                    attached.
                                       Redacted material pertains to non-public
                GOOG-AT-MDL-006037366- revenue, customer, and business strategies      Limited redactions as proposed in
DTX1040         GOOG-AT-MDL-006037373 pertaining to its DV360 business.                attached.




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                GOOG-AT-MDL-008928778- Document contains Google’s non-public,
DTX1041         GOOG-AT-MDL-008928778 internal financial profit and loss analysis.      Seal in full.
                                       Redacted material pertains to Google’s non-
                GOOG-AT-MDL-019147892- public financial information, including revenue Limited redactions as proposed in
DTX1042         GOOG-AT-MDL-019147974 and expenses.                                     attached.
                                       Redacted material pertains to competitively
                GOOG-AT-MDL-004347222- sensitive details regarding financial terms of a Limited redactions as proposed in
DTX1048         GOOG-AT-MDL-004347222 customer discount incentive program.              attached.
                                       Redacted material pertains to Google’s
                                       proprietary and commercially sensitive
                GOOG-DOJ-AT-00037032-  business information, including product          Limited redactions as proposed in
DTX1049         GOOG-DOJ-AT-00037065   development strategy.                            attached.
                                       Redacted material pertains to non-public
                GOOG-AT-MDL-001413738- commercial and technical information             Limited redactions as proposed in
DTX1052         GOOG-AT-MDL-001413750 regarding a Google product feature.               attached.
                                       Redacted material pertains to Google’s non-
                                       public financial and commercial information,
                GOOG-AT-MDL-009703214- as well as non-public information reflecting     Limited redactions as proposed in
DTX1053         GOOG-AT-MDL-009703225 recent and future strategies.                     attached.
                                       Redacted material pertains to non-public
                GOOG-DOJ-AT-00585809-  commercial and technical information             Limited redactions as proposed in
DTX1054         GOOG-DOJ-AT-00585835   regarding a Google product feature.              attached.
                                       Redacted material pertains to Google’s non-
                GOOG-AT-MDL-009590561- public financial information, including budget Limited redactions as proposed in
DTX1059         GOOG-AT-MDL-009590577 and spend.                                        attached.
                                       Redacted material pertains to proprietary and
                GOOG-DOJ-AT-00808556-  commercially sensitive business information, Limited redactions as proposed in
DTX1062         GOOG-DOJ-AT-00808576   including product development strategy and       attached.



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                                             technical information regarding a Google
                                             product feature.

                                       Redacted material pertains to Google’s non-
                GOOG-AT-MDL-009590544- public financial information, including budget Limited redactions as proposed in
DTX1073         GOOG-AT-MDL-009590558 and spend.                                       attached.
                                       Redacted material pertains to Google’s
                                       proprietary and commercially sensitive
                GOOG-DOJ-AT-02433387-  business information, including product         Limited redactions as proposed in
DTX1110         GOOG-DOJ-AT-02433414   development strategy.                           attached.
                                       Redacted material pertains to Google’s non-
                GOOG-AT-MDL-006876286- public business strategy, financial, and        Limited redactions as proposed in
DTX1120         GOOG-AT-MDL-006876319 accounting information.                          attached.
                                       Redacted material pertains to Google’s non-
                GOOG-AT-MDL-008668309- public competitively sensitive customer pricing Limited redactions as proposed in
DTX1125         GOOG-AT-MDL-008668313 information.                                     attached.
                                       Redacted material pertains to non-public
                GOOG-DOJ-AT-02480384-  commercial and technical information            Limited redactions as proposed in
DTX1145         GOOG-DOJ-AT-02480386   regarding a Google product feature.             attached.
                                       Redacted material pertains to non-public
                GOOG-DOJ-AT-02512856-  commercial and technical information            Limited redactions as proposed in
DTX1146         GOOG-DOJ-AT-02512859   regarding a Google product feature.             attached.
                                       Redacted material pertains to Google’s non-
                GOOG-AT-MDL-009017821- public, internal financial profit and loss      Limited redactions as proposed in
DTX1185         GOOG-AT-MDL-009017854 analysis and financial strategy.                 attached.

                GOOG-AT-MDL-009643876- Document contains Google’s non-public,
DTX1187         GOOG-AT-MDL-009643876 internal financial profit and loss analysis.       Seal in full.




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                GOOG-DOJ-AT-02647833-        Document contains Google’s non-public,
DTX1190         GOOG-DOJ-AT-02647833         internal financial profit and loss analysis.   Seal in full.

                GOOG-AT-MDL-017191835- Redacted material pertains to Google’s non-          Limited redactions as proposed in
DTX1206         GOOG-AT-MDL-017191885 public financial and accounting information.          attached.
                                       Redacted material pertains to personal private
                                       information and Google’s non-public
                GOOG-AT-MDL-006848876- competitively sensitive customer pricing             Limited redactions as proposed in
DTX1250         GOOG-AT-MDL-006848880 information.                                          attached.
                                       Redacted material pertains to Google’s non-
                GOOG-AT-MDL-018290783- public competitively sensitive customer              Limited redactions as proposed in
DTX1261         GOOG-AT-MDL-018290784 contract terms.                                       attached.
                                       Redacted material pertains to Google’s non-
                GOOG-AT-MDL-009472035- public competitively sensitive customer              Limited redactions as proposed in
DTX1262         GOOG-AT-MDL-009472035 contract terms.                                       attached.

                GOOG-AT-MDL-004598097- Redacted material pertains to personal private       Limited redactions as proposed in
DTX1314         GOOG-AT-MDL-004598100 information.                                          attached.
                                       Redacted material pertains to non-public
                GOOG-AT-MDL-000881089- commercial and technical information            Limited redactions as proposed in
DTX1338         GOOG-AT-MDL-000881128 regarding Google product optimizations.          attached.
                                       Redacted material pertains to Google’s non-
                GOOG-AT-MDL-008228528- public financial information, including revenue Limited redactions as proposed in
DTX1375         GOOG-AT-MDL-008228556 and expenses.                                    attached.
                                       Redacted material pertains to non-public
                GOOG-AT-MDL-008778351- commercial and technical information            Limited redactions as proposed in
DTX1382         GOOG-AT-MDL-008778356 regarding a Google product feature.              attached.




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                GOOG-DOJ-AT-02647839-        Document contains Google’s non-public,
DTX1411         GOOG-DOJ-AT-02647839         internal financial profit and loss analysis.   Seal in full.

                GOOG-DOJ-AT-02649859-        Document contains Google’s non-public,
DTX1413         GOOG-DOJ-AT-02649859         internal financial profit and loss analysis.   Seal in full.

                GOOG-DOJ-AT-02649868-        Document contains Google’s non-public,
DTX1414         GOOG-DOJ-AT-02649868         internal financial profit and loss analysis.   Seal in full.

                GOOG-AT-MDL-009709863- Document contains Google’s non-public,
DTX1431         GOOG-AT-MDL-009709863 internal financial profit and loss analysis.          Seal in full.
                                       Redacted material pertains to Google’s
                                       proprietary and commercially sensitive
                GOOG-AT-MDL-013277655- business information, including product              Limited redactions as proposed in
DTX1465         GOOG-AT-MDL-013277658 development strategy.                                 attached.

                GOOG-AT-MDL-017191980- Redacted material pertains to Google’s non-          Limited redactions as proposed in
DTX1473         GOOG-AT-MDL-017192033 public financial and accounting information.          attached.
                                       Redacted material pertains to Google’s non-
                GOOG-AT-MDL-012978414- public competitively sensitive customer              Limited redactions as proposed in
DTX1504         GOOG-AT-MDL-012978420 contract terms and information.                       attached.
                                       Redacted material pertains to Google’s
                                       proprietary and commercially sensitive
                GOOG-AT-MDL-009483895- business information, including product              Limited redactions as proposed in
DTX1527         GOOG-AT-MDL-009483925 development strategy.                                 attached.
                                       Document contains Google’s proprietary and
                                       commercially sensitive business information,
                GOOG-AT-MDL-013271458- including product development strategy.
DTX1554          GOOG-AT-MDL-013271641                                                      Seal in full.


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                                       Redacted material pertains to Google’s non-
                GOOG-AT-MDL-009709671- public, internal financial profit and loss         Limited redactions as proposed in
DTX1613         GOOG-AT-MDL-009709678 analysis.                                           attached.

                GOOG-AT-MDL-009709864- Document contains Google’s non-public,
DTX1617         GOOG-AT-MDL-009709864 internal financial profit and loss analysis.        Seal in full.
                                       Redacted material pertains to Google’s non-        To be modified by the parties to
                                       public competitively sensitive customer            replace customer names with
DTX1837         N/A                    information.                                       generic identifiers.
                                       Redacted material pertains to Google’s non-        To be modified by the parties to
                                       public competitively sensitive customer            replace customer names with
DTX1845         N/A                    information.                                       generic identifiers.
                                       Redacted material pertains to Google’s non-        To be modified by the parties to
                                       public competitively sensitive customer            replace customer names with
DTX1846         N/A                    information.                                       generic identifiers.

                                            Document contains non-public, transaction-
DTX1913         N/A                         level data concerning Google’s ad auctions    Seal in full.
                                            Redacted material pertains to Google’s non-
                                            public competitively sensitive customer       Limited redactions as proposed in
DTX1970         N/A                         information.                                  attached.
                                            Redacted material pertains to Google’s non-   To be modified by the parties to
                                            public competitively sensitive customer       replace customer names with
DTX1983         N/A                         information.                                  generic identifiers.
                                            Redacted material pertains to Google’s non-   To be modified by the parties to
                                            public competitively sensitive customer       replace customer names with
DTX1988         N/A                         information.                                  generic identifiers.
                                            Redacted material pertains to Google’s non-   To be modified by the parties to
                                            public competitively sensitive customer       replace customer names with
DTX1989         N/A                         information.                                  generic identifiers.


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                                         Redacted material pertains to Google’s non-    To be modified by the parties to
                                         public competitively sensitive customer        replace customer names with
DTX1993         N/A                      information.                                   generic identifiers.
                                         Redacted material pertains to Google’s non-
                                         public financial and commercial information,   Limited redactions as proposed in
DTX2040         N/A                      including revenue.                             attached.
                                         Redacted material pertains to Google’s non-
                                         public financial and commercial information,   Limited redactions as proposed in
DTX2041         N/A                      including revenue.                             attached.
                                         Redacted material pertains to Google’s non-
                                         public competitively sensitive customer        Limited redactions as proposed in
DTX2106         N/A                      information.                                   attached.
                                         Redacted material pertains to Google’s non-
                                         public competitively sensitive customer        Limited redactions as proposed in
DTX2107         N/A                      information.                                   attached.
                                         Document contains Google’s proprietary and
                                         commercially sensitive business information,
DTX2135         N/A                      including product development strategy.        Seal in full.
                                         Document contains Google’s proprietary and
                                         commercially sensitive business information,
DTX2136         N/A                      including product development strategy.        Seal in full.
                                         Document contains Google’s proprietary and
                                         commercially sensitive business information,
DTX2137         N/A                      including product development strategy.        Seal in full.
                                         Document contains Google’s proprietary and
                                         commercially sensitive business information,
DTX2138         N/A                      including product development strategy.        Seal in full.




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                                         Document contains Google’s proprietary and
                                         commercially sensitive business information,
DTX2139         N/A                      including product development strategy.           Seal in full.
                                         Document contains Google’s proprietary and
                                         commercially sensitive business information,
DTX2140         N/A                      including product development strategy.           Seal in full.
                                         Document contains Google’s proprietary and
                                         commercially sensitive business information,
DTX2141         N/A                      including product development strategy.           Seal in full.
                                         Document contains Google’s proprietary and
                                         commercially sensitive business information,
DTX2142         N/A                      including product development strategy.           Seal in full.
                GOOG-AT-DOJ-DATA-        Dataset includes detailed monthly data
                000000001-GOOG-AT-DOJ-   concerning transactions on Google’s AdMob
DTX2148         DATA-000000001           product, broken down by customer.                Seal in full.
                GOOG-AT-DOJ-DATA-        Dataset includes detailed monthly data
                000011657-GOOG-AT-DOJ-   concerning advertiser bidding strategies on
DTX2149         DATA-000012656           Google’s DV360 and Google Ads products.          Seal in full.
                                         Dataset includes data on Google’s US
                                         advertising activity promoting its own products
                                         and services, both directly and via
                                         intermediaries (e.g., ad agencies), covering the
                                         period from January 2021 to August 2023. The
                GOOG-AT-DOJ-DATA-        data includes purchases of both Google owned
                000066660-GOOG-AT-DOJ-   & operated and third-party advertising
DTX2150         DATA-000066660           inventory.                                       Seal in full.
                GOOG-AT-DOJ-DATA-
                000066661-GOOG-AT-DOJ-   Document contains Google’s non-public,
DTX2151         DATA-000066768           proprietary performance data.                     Seal in full.


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                GOOG-AT-DOJ-DATA-       Dataset includes 2022 data concerning Google
                000066771-GOOG-AT-DOJ-  proprietary metrics concerning the predicted
DTX2153         DATA-000066772          quality of ad impressions.                        Seal in full.
                                        Dataset includes monthly data concerning app-
                GOOG-AT-DOJ-DATA-       related transactions flowing through Google’s
                000066797-GOOG-AT-DOJ- AdMob and Google Ad Manager tools from
DTX2163         DATA-000066797          2020-2023.                                        Seal in full.
                                        Dataset includes monthly data from 2021-2023
                GOOG-AT-DOJ-DATA-       concerning transactions involving Google’s
                000245944-GOOG-AT-DOJ- Campaign Manager product, broken down by
DTX2165         DATA-000246943          customer.                                         Seal in full.
                                        Dataset includes detailed data on Federal
                GOOG-AT-DOJ-DATA-       Agency Advertiser ad campaigns through
                000246944-GOOG-AT-DOJ- Google’s Google Ads and DV360 products
DTX2166         DATA-000246944          from 2020-2023.                                   Seal in full.
                GOOG-AT-DOJ-DATA-       Dataset includes detailed, customer-specific
                000247044-GOOG-AT-DOJ- data on transactions using Google’s Campaign
DTX2167         DATA-000247044          Manager 360 product.                              Seal in full.
                                        Dataset includes monthly data on publisher
                                        transactions through Header Bidding, as
                GOOG-AT-EDVA-DATA-      identified using Google’s ordinary-course,
                000000006-GOOG-AT-EDVA- proprietary methodology for inferring the
DTX2169         DATA-000000006          presence of header bidding.                       Seal in full.
                GOOG-AT-EDVA-DATA-      Dataset includes detailed, transaction-level data
                000012607-GOOG-AT-EDVA- for auctions run on Google’s Google Ads tool
DTX2170         DATA-000042606          in June 2023.                                     Seal in full.
                GOOG-AT-EDVA-DATA-      Dataset includes detailed, transaction-level data
                000147607-GOOG-AT-EDVA- for auctions run on Google’s Google Ad
DTX2171         DATA-000226014          Manager tool in June 2023.                        Seal in full.




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                                        Data patch that includes correction to certain
                GOOG-AT-EDVA-DATA-      transaction-level data for auctions run on
                000226021-GOOG-AT-EDVA- Google’s Google Ad Manager tool in June
DTX2172         DATA-000226339          2023.                                            Seal in full.

                GOOG-AT-MDL-007104041- Document contains Google’s non-public,
DTX2173         GOOG-AT-MDL-007104041 pricing information.                          Seal in full.
                                       Dataset includes detailed monthly data
                GOOG-AT-MDL-DATA-      concerning transactions through Google’s AdX
                000066537-GOOG-AT-MDL- and Open Bidding, broken down by customer
DTX2175         DATA-000482007         from 2014 to 2022.                           Seal in full.
                                       Dataset includes detailed monthly data
                GOOG-AT-MDL-DATA-      concerning transactions through Google’s AdX
                000481995-GOOG-AT-MDL- and Open Bidding, broken down by customer
DTX2176         DATA-000481995         from 2014 to 2022.                           Seal in full.
                                       Dataset includes detailed monthly data
                GOOG-AT-MDL-DATA-      concerning transactions through Google’s AdX
                000482004-GOOG-AT-MDL- and Open Bidding, broken down by customer
DTX2177         DATA-000482004         from 2014 to 2022.                           Seal in full.
                                       Dataset includes detailed monthly data
                GOOG-AT-MDL-DATA-      concerning transactions served through
                000482008-GOOG-AT-MDL- Google’s DFP product, broken down by
DTX2178         DATA-000482531         customer from 2014 to 2022.                  Seal in full.
                                       Dataset includes detailed monthly data
                GOOG-AT-MDL-DATA-      concerning transactions served via Google’s
                000482532-GOOG-AT-MDL- AdSense product through Google Ad Manager,
DTX2179         DATA-000486515         broken down by customer from 2015 to 2022. Seal in full.
                GOOG-AT-MDL-DATA-      Dataset includes detailed monthly data
                000486516-GOOG-AT-MDL- concerning ad-serving fees charged on
DTX2180         DATA-000486625         transactions served through Google’s Google Seal in full.



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                                              Ad Manager product, broken down by
                                              customer from 2015 to 2022.

                                       Dataset includes detailed monthly data
                GOOG-AT-MDL-DATA-      concerning transactions through Google’s
                000486626-GOOG-AT-MDL- Google Ads product, broken down by customer
DTX2181         DATA-00048277          from 2014 to 2022.                               Seal in full.
                                       Dataset includes detailed monthly data
                GOOG-AT-MDL-DATA-      concerning transactions through Google’s
                000488278-GOOG-AT-MDL- DV360 product, broken down by customer
DTX2182         DATA-000488815         from 2016 to 2022.                               Seal in full.
                                       Data patch that includes corrections to detailed
                GOOG-AT-MDL-DATA-      monthly data concerning transactions through
                000508827-GOOG-AT-MDL- Google’s AdX and Open Bidding, broken
DTX2183         DATA-00055886          down by customer from 2014 to 2022.              Seal in full.
                                       Dataset includes detailed monthly financial
                GOOG-AT-MDL-DATA-      data concerning transactions through Google’s
                000558890-GOOG-AT-MDL- DV360 and Google Ads product, broken down
DTX2184         DATA-000558890         by customer from 2005 to 2023                    Seal in full.
                                       Dataset includes detailed monthly financial
                                       data concerning transactions involving
                GOOG-AT-MDL-DATA-      Google’s Google Ad Manager, AdMob, and
                000559277-GOOG-AT-MDL- AdSense products, broken down by customer,
DTX2185         DATA-000559277         from 2006 to 2023.                               Seal in full.
                                       Dataset includes detailed monthly financial
                                       data concerning transactions involving
                GOOG-AT-MDL-DATA-      Google’s Google Ad Manager, AdMob, and
                000561031-GOOG-AT-MDL- AdSense products, broken down by customer,
DTX2186         DATA-000561262         from 2007 to 2023.                               Seal in full.




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                                       Dataset includes detailed monthly financial
                GOOG-AT-MDL-DATA-      data concerning transactions through Google’s
                000561263-GOOG-AT-MDL- DV360 product, broken down by customer
DTX2187         DATA-000561420         from 2012 to 2022.                               Seal in full.
                                       Dataset includes detailed monthly financial
                GOOG-AT-MDL-DATA-      data concerning transactions through Google’s
                000561420-GOOG-AT-MDL- DV360 product, broken down by customer
DTX2188         DATA-000561420         from 2012 to 2022.                               Seal in full.
                                       Dataset includes detailed monthly data
                                       concerning ad-serving fees charged on
                GOOG-AT-MDL-DATA-      transactions served through Google’s Google
                000561425-GOOG-AT-MDL- Ad Manager product, broken down by U.S.
DTX2189         DATA-000561425         customer from 2015 to 2022.                      Seal in full.
                                       Dataset includes detailed monthly data
                                       concerning ad-serving fees charged on
                GOOG-AT-MDL-DATA-      transactions served through Google’s Google
                000561426-GOOG-AT-MDL- Ad Manager product, broken down by U.S.
DTX2190         DATA-000561535         customer from 2015 to 2022.                      Seal in full.
                                       Data patch that includes corrections to detailed
                GOOG-AT-MDL-DATA-      monthly data concerning transactions through
                000561536-GOOG-AT-MDL- Google’s AdX and Open Bidding, broken
DTX2191         DATA-000564882         down by customer from 2014 to 2022.              Seal in full.

                GOOGEDVA-SC-00001-
DTX2193         GOOGEDVA-SC-00001             Document contains Google’s source code.     Seal in full.

                GOOGEDVA-SC-00002-
DTX2194         GOOGEDVA-SC-00002             Document contains Google’s source code.     Seal in full.

                GOOGEDVA-SC-00007-
DTX2195         GOOGEDVA-SC-00007             Document contains Google’s source code.     Seal in full.


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                GOOGEDVA-SC-00015-
DTX2196         GOOGEDVA-SC-00015        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00017-
DTX2197         GOOGEDVA-SC-00017        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00023-
DTX2198         GOOGEDVA-SC-00023        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00024-
DTX2199         GOOGEDVA-SC-00024        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00028-
DTX2200         GOOGEDVA-SC-00028        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00029-
DTX2201         GOOGEDVA-SC-00029        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00031-
DTX2202         GOOGEDVA-SC-00031        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00032-
DTX2203         GOOGEDVA-SC-00032        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00036-
DTX2204         GOOGEDVA-SC-00036        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00037-
DTX2205         GOOGEDVA-SC-00037        Document contains Google’s source code.   Seal in full.


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                GOOGEDVA-SC-00038-
DTX2206         GOOGEDVA-SC-00038        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00069-
DTX2207         GOOGEDVA-SC-00069        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00070-
DTX2208         GOOGEDVA-SC-00070        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00072-
DTX2209         GOOGEDVA-SC-00072        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00073-
DTX2210         GOOGEDVA-SC-00073        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00074-
DTX2211         GOOGEDVA-SC-00074        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00079-
DTX2212         GOOGEDVA-SC-00079        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00080-
DTX2213         GOOGEDVA-SC-00080        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00081-
DTX2214         GOOGEDVA-SC-00081        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00082-
DTX2215         GOOGEDVA-SC-00082        Document contains Google’s source code.   Seal in full.


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Trial Exhibit
                      Bates Number                   Basis for Objection                    Requested Action
  Number

                GOOGEDVA-SC-00083-
DTX2216         GOOGEDVA-SC-00083        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00084-
DTX2217         GOOGEDVA-SC-00084        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00085-
DTX2218         GOOGEDVA-SC-00085        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00086-
DTX2219         GOOGEDVA-SC-00086        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00075-
DTX2253         GOOGEDVA-SC-00075        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00076-
DTX2254         GOOGEDVA-SC-00076        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00077-
DTX2255         GOOGEDVA-SC-00077        Document contains Google’s source code.   Seal in full.

                GOOGEDVA-SC-00078-
DTX2256         GOOGEDVA-SC-00078        Document contains Google’s source code.   Seal in full.




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Plaintiffs’ Deposition Designations

   Deposition             Range                       Basis for Objection                         Requested Action


                                      Redacted material pertains to personal private
Craycroft, Tim          28:17-29:1    information.                                        Redaction of identified range.

                                      Redacted material pertains to Google’s non-public
Levitte, George       199:17-199:22   financial information.                              Redaction of identified range.

                                      Redacted material pertains to Google’s non-public
Levitte, George       199:23-199:23   financial information.                              Redaction of identified range.

                                      Redacted material pertains to Google’s non-public
Levitte, George        200:7-200:7    financial information.                              Redaction of identified range.

                                      Redacted material pertains to Google’s non-public
Levitte, George        201:7-201:12   financial information.                              Redaction of identified range.

                                      Redacted material pertains to personal private
Mohan, Neal            94:18-94:19    information.                                        Redaction of identified range.

                                      Redacted material pertains to personal private
Mohan, Neal             94:22-95:7    information.                                        Redaction of identified range.

                                      Redacted material pertains to personal private
Mohan, Neal            95:10-95:11    information.                                        Redaction of identified range.

                                      Redacted material pertains to personal private
Mohan, Neal           100:16-100:18   information.                                        Redaction of identified range.



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  Deposition           Range                        Basis for Objection                      Requested Action


                                    Redacted material pertains to personal private
Mohan, Neal         100:21-101:11   information.                                     Redaction of identified range.

                                    Redacted material pertains to personal private
Mohan, Neal         101:14-101:20   information.                                     Redaction of identified range.

                                    Redacted material pertains to personal private
Mohan, Neal          101:23-102:4   information.                                     Redaction of identified range.

                                    Redacted material pertains to personal private
Mohan, Neal          102:7-102:14   information.                                     Redaction of identified range.

                                    Redacted material pertains to personal private
Mohan, Neal         102:17-102:24   information.                                     Redaction of identified range.

                                    Redacted material pertains to personal private
Mohan, Neal          103:3-103:7    information.                                     Redaction of identified range.

                                    Redacted material pertains to personal private
Mohan, Neal         103:10-103:11   information.                                     Redaction of identified range.




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